Case 2:03-cV-02330-SHI\/|-ch Document 421 Filed 08/03/05 Page 1 of 5 Page|D 730

 

 

UNITED STATES DISTRICT COURT F'"ED BY ~%-“~ D'C'
WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 AUG "3 AH '0’ '7
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) W.fD C.f m i,»#;E;=.iPHlS
LECTROLARM CUSTOM SYSTEMS, INC.)
)
Plaintiff, )
) Civil Action No. 03-2330 Ma A
v. )
)
vICON INDUSTRIES, INC., et al. )
)
Defeodants. )

 

 

[PROPOSED] ORDER GRANTING DEFENDANT GE INTERLOGIX, INC.’S
UNOPPOSED MOTION FOR LEAVE TO FILE A REPLY BRIEF IN SUPPORT OF ITS
MOTION TO COMPEL DEPOSITION TESTIMONY OF PLAINTIFF LECTROLARM

CUSTOM SYSTEMS, INC.

 

Before the Court is Defendant GE Interlogix, Inc.’S unopposed motion for leave to file a
Reply Brief in support of its Motion to Compel Deposition Testimony of Plaintiff Lectrolarm
Custom Systems, Inc. For good cause shown, the motion is GRANTED.
IT IS SO ORDERED.
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